         Case 9:23-po-05025-KLD Document 5 Filed 10/17/23 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                           MISSOULA DIVISION



UNITED STATES OF AMERICA,                  9:23-PO-05025-KLD
                                           Ticket Number: F5481506 and
                   Plaintiff,               F5481507
                                           Location Code: M10
vs.                                        Disposition Code: PP

DANNY A. LINDQUIST,                        JUDGMENT IN A CRIMINAL CASE

                   Defendant.


      The Defendant, Danny A. Lindquist, was present in court and entered a plea
of guilty to the charges of: OPERATING A VEHICLE WITH EXPIRED
REGISTRATION and OPERATING A VEHICLE WITHOUT A VALID
DRIVERS LICENSE.
      The court imposes the following sentence pursuant to the Sentencing
Reform Act of 1984:
             1. Defendant must pay $80.00 in fees, no fine, for a total of $80.00.
The $80.00 has been paid in full, receipt number 900018092.
      Defendant is advised that pursuant to 18 U.S.C. § 3742(g) and Federal Rule
of Criminal Procedure 58(g)(2)(B), Defendant has the right to appeal the sentence
imposed in this case to a United States District Court Judge within fourteen (14)
days after entry of judgment, by filing with the Clerk of District Court a statement
specifying the judgment from which the appeal is taken, and by serving a copy of
the statement upon the United States Attorney (personally or by mail) and filing a
         Case 9:23-po-05025-KLD Document 5 Filed 10/17/23 Page 2 of 2



copy with Magistrate Kathleen L. DeSoto. If you appeal, you will be required to
pay a $39 fee pursuant to 28 U.S.C. § 1914, Fee Schedule, subsection (10) at the
time of filing your appeal. You also will be required to furnish the District Court
Judge a copy of the record, which consists of the “original papers and exhibits in
the case together with any transcript, tape or other recording of the proceedings
and a certified copy of the docket entries which shall be transmitted promptly to
the clerk of court.” Fed. R. Crim. P. 58(g)(2)(c).



  10/17/2023
____________________                                 _______________________
                                                     ______________________
Date Signed                                          KATHLEEN L    L. DESOTO
                                                     United States Magistrate Judge
